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                           IJNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT O F FLO RIDA

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    GARDEN oy LIFE lx c.,and                                                                                           ç)
    Jor Ax s.RUBIM,
                   Defendants.




            THIS CAUSE comes before the Courtupon Defendants'InitialM em orandum in

    Response to thisCourt'sOrderto Show Cause W hy itShould notbe Held in Contempt

    (DE 40).The Courthas considered Defendants'Response,PlaintiffsM otion forand
    M emorandlzm in Supportofan Orderto Show Cause (DE 16),and is otherwise fully
    advised intheprem ises.

       1.      ProceduralH istory

            On M arch 10,2006,Plaintiffinitiated thisaction againstDefendantsalleging that

    Defendants violated sections 5(a) and 12 of the Federal Trade Commission Act by
    making unsubstantiated representationsthattheirm oduds could treat a range ofserious

    diseasesand by making falsedaimsofclinicalproof.(SeeDE 1).Shortly afterPlaintiff
    filed its Complaint,the Partiesentered into a ConsentDecree,which thisCourtadopted

    infullin aStipulatedFinalOrder.(SeeDE 8).



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            The Stipulated Final Orderenjoined Defendant Garden of Life (E<GOL'') and
    Defendant Jordan S.Rubin (ç(Rubin''),the fotmder of GOL, from making certain
    representationsconcerningcoveredproducts(seeDE 8ay 4-5)andfrom misrepresenting
    testsorstudies(seeDE 8at5).
        II.O rder to Show C ause

            On September 9,2011,Plaintiff filed the instantM otion, in which it alleges

    DefendantGarden ofLife ($<GOL'')1violated thepermanentinjtmction in thefollowing
    ways:(1)GOL falselyclaimedthatRAW VitaminC,RAW Calcium,andtheGrow Bone
    System contained $tno soy allergens''(see DE 16 at7);(2)GOL made baselessclaims
    thatOceanKidshasççbrain-boosting powers''and otherbenefitsforchildren (seeDE 16
    at9);and (3)GOL made unfounded claimsthatRAW Calcium and the Grow Bone
    System are superiorto othercalcium supplements and falsely represented thatthis claim

    wasbackedbyhumanclinicalstudies(seeDE 16at11).
        111.     LegalD iscussion

            In order to hold Defendants in civilcontemptfor violating the Stipulated Final

    Order,Plaintiffmustdemonstratethe following by clearand convincing evidence:($41)
    the allegedly violated orderwasvalid and lawful;(2)theorderwasclear,definite and
    unnmbiguous;...(3)thealleged violatorhad theabilityto complywith theorder'';and
    (4)the defendantviolated the order.McGregorv.Chierico,206 F.3d 1378,1383 (11th
    Cir.2000)(quoting Jordan v.Wilson,851 F.2d 1290,1292 n.2 (11th Cir.1988)(per
    ctlrinml).




     1SinceRubin isan executiveofGOL, GOL'sactionsareimputedto Rubin.


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           d4-rhe determination of whether a defendant violated a permanent injundion
    beginswith acloseexnminationofthejudgment.''AbbottLabs. v.Unlimited Beverages,
    lnc.,218 F.3d 1238,1240 (11th Cir.2000)(citing King v.Allied Vision,Ltd,65 F.3d
    1051,1058 (2nd Cir.1995:.Particularly concerned with the repercussionsthatmay
    resultfrom an tmclear,indefinite,and nmbiguousorder,the Eleventh Circuitruled that

           (A1courtmustcraftitsorderssothatthosewho seek to obey may know
           precisely whatthecourtintendsto forbid ....Thus,Rule 65(d)ofthe
           FederalRulesofCivilProcedureprovidesthatStlelvery ordergranting an
           injunction ...shallbespecific in terms;(and)shalldescribe in reasonable
           detail ...the actor acts soughtto be restrained ....''Fed.R.Civ.P.
           65(d).Underthisrule,ddanordinarypersonreadingthecourt'sordershould
           be able to ascertain from the docum ent itself exactly what conduct is
           proscribed.''


    American Red Crossv.Palm Beach Blood Bank,Inc.,143 F.3d 1407,1411 (11th Cir.
    1998)(quotingHughey v.JMS Dev.Corp.,78 F.3d 1523,1531(11th Cir.1996:.W ith
    thisfrnm ework in m ind,Imoveto the allegationssetforth in PlaintiffsM otion.

       IV .   A pplication

           1 will first consider whether Plaintiff dem onstrated by clear and convincing

    evidence that Defendants violated the Order. By entering into the Consent Decree,

    Defendants were enjoined from making (1) unsubstnntiated representations (ççsection
    One'')and(2)misrepresentationsaboutanytestorstudy(sçsectionTwo'').
           A .UnsubstantiatedRepresentations

           Specifically,the applicable provisions ofSection One enjoin Defendants from
    Sçm aking,orassisting othersin m aking,directly orby implication,including tbrough the

    use ofany trade name orendorsement,any representation''(1)thata certain produd
    Stmitigates,treats,prevents,orcuresanydiseaseorillness''or(2)çtlalbouttheabsoluteor



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    comparative health benefits, efficacy,perform ance, safety, or side effects of such

    product.''(SeeDE 8 at4-5).TheOrderprovidesthatDefendantswillnotviolateSection
    OneifGçatthetimetherepresentation (was)made,''DefendantsGtpossessled)and rellied)
    upon competent and reliable scientitk evidence that substantiates the representation.''

    (See DE 8 at5).Competentand reliable scientificevidence isdefined in the Orderas
    Sdtests, analyses, research, studies, or other evidence based on the expertise of

    professionalsintherelevantarea,thathasbeen conducted and evaluated in an objective
    marmer by persons qualified to do so, using procedures generally accepted in the

    professiontoyieldaccurateandreliableresults.''(SeeDE 8at3).
           B.M isrepresentations

       W ith resped to misrepresentations,Defendants were permanently enjoined Sdfrom
    misrepresenting,in any m nnner,expressly orby implication,including through the useof

    any trade nnme orendorsem ent,the existence,contents,validity,results,conclusions,or

    intemretationsofanytestorstudy.''(SeeDE 8at5).
           C.Alleced Violations

                     GN o Soy A llergens''Claim

           First,Plaintiffasserts Defendants violated Section One by falsely claiming that

    RAW Vitnmin C, RAW Calcium , and the Czrow Bone System contained Gtno soy

    allergens.''(SeeDE 16 at16).Plaintiffclaims GOL violated thissection because (1)it
    neverpossessed competent and reliable scientifk evidence that substantiated its claim

    thatthese productscontained Gtno soy allergens''and (2)ithad evidencethatsoy was
    presentintheseproducts.(SeeDE 16at16).In response,DefendantsargueitEtdoesnot




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    manufacturethe subjectproducts''and based itstçno soy allergens''claim tçon allergen
    statementsreceivedfrom itsmany suppliers.''(SeeDE 40at11).
           Plaintifffailsto identify which provision ofSection One GOL violated by m aking

    its claim that the products contained dsno soy allergens''; however, after considering

    Section One,itappearstheonly section thatcould encompassthisallegation issubsection

    J,which prohibitsGOL from m aking tmsubstantiated representationsaboutthe safety of

    itsproducts.LseeDE 8at5).W ithoutofferingany evidenceorargumentin supportofits
    claim that allergen statements do not constim te com petent and reliable scientitk

    evidence,Plaintiffm erely concludesthattheserecordsare insufficient. (SeeDE 16at16).

    1 find allergen statements fallwithin the category of 'sother evidence''thatqualifies as

    com petentand reliablt scientitk evidence,which can substantiate GOL's claim thatits

    productscontained &ûno soy allergens.''(See DE 8 at3).Allergen statementsarereports
    prepared by a m mm factm er that detail the allergens contained in the m anufacturer's

    products. These statements are reliable because a m anufacturer could expose itselfto

    significantliability ifitfailed to disclose allergens contained within itsproducts. Also,

    the manufacturer is in a unique position to objectively evaluate and determine the
    allergenscontainedin itsproduct.

           Turning to Plaintiffs second allegation, I m ust consider whether Plaintiff

    dem onstrated by clear and convincing evidence thatGOL did nothave com petentand

    reliable scientitk evidence substantiating its çtno soy allergen claim '' because one

    allergen statementsupposedly established soy waspresentin GOL'sproduds. Plaintiff s

    sole piece ofevidence establishing thatGOL should have known soy was presentin its

    productsisan allergen statement(iGstatemenf')sentto GOL from the Grow Company



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    (G1Grow'')onNovember1,2007.(SeeDE 43-Attachment1at64-65).Beforeanalyzing
    the Statement,itisnecessary to briefly describe thethree products. Theproductscontain

    the following nmount of raw materials:(1) RA.
                                                W Vitnmin C contains 7;(2) RAW
    Calcillm contains12;and (3)the Grow Bone System contains23.(See DE 40at11;see
    alsoRay Decl.at! 7).Grow only suppliesSstwo uniqueraw materials'',VitaminsC and
    D,whichareusedintheseproducts.(SeeDE 40at11;seealsoRayDed.at! 14).
           Plaintiffargues the Statem entStconfinned the presence of soy in ingredients of

    Defendants'vitnm in C and calcium products.Specitk ally, Grow states in the Allergen

    QuestionnaireforEAl1'tGrow-Nutrients'tsoy oritsderivatives'...are 'Presentin the
    Produdp'as well as Gpresent in Other Produds M anufactm ed on the Snm e Line' and

    dprestntin the SameFacility.'''(SeeDE 16 at17).Notably,only two ingredientsfrom
    the Grow Company are utilized in the tlu'ee produds,and,Plaintiffdid notprovide any

    evidence establishing thattheingredientscontaining soy came from Grow .

           In response,GOL raises the following argllments:(1)Grow represented in the
    Statement that soy or its derivatives could only be found in the Vitnmin E and

    Niacinnmideingredients;(2)Grow'sVicePresidentofOperationsconfirmed thatGrow
    did not use allergenic ingredients in its products;and (3) Grow represented thatits
    proprietary ferm entation process used to produce the ingredients would consum e and

    destroy any residualsoy.The statem entsand written representationsm ade by Grow also

    qualify asSsotherevidence''underthe ConsentDecree because thisevidence isbased on

    statementsm adeby the manufacttlrerwho isqualified to evaluate the ingredients. A gain,

    aspreviously stated,themanufadmerwillobjectivelyevaluatethepresence ofallergens




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    in itsproductsbecause the failure to do so could expose the manufacturerto significant

    liability.
           First,GOL argues Grow represented itdddid notuse allergenic ingredients in its

    productionprotocols''and thatsoy oritsderivativescould only iGbefound in (thejGrow
     Com pany's Vitamin E and Niacinnmide ingredients'', which are not present in the

     aforementionedproducts.(SeeDE 40 at11).Thefollowingcommentwasincluded inthe
     Statement:ETew Vitam ins including;Vitnm ins E and N iacinnm ide do use corn meal

     and/orsoymealconcentrate.''(SeeDE X -Attachment1at65).
            On the same day GOL received the Statem ent,GOL's executives contacted Dr.

     M assoud ArvanaghitlûArvanaghi''l Grow's Vice President of Operations,about the
     presence of allergens in Grow's products, and,Dr. Arvanaghi confirm ed that Grow

     dtdolesqnotutilizeany allergenicingredientsin theirproductionprotocols.''(SeeDE 43-
     Attachment1at67).Additionally,even ifsoy wasinitially presentin Grow'sproducts,
     GOL relied on Grow 'srepresentation Stthattheproprietary fermentation processtheGrow

     Com pany usesto produce these vitnminswould consllm e and destroy any residualsoy.''

     (See DE 40 at 10;see also Ray Decl.at! 14).PlaintiffarguesthatGOL'sevidence is
     insufficientbecause the StatementSddirectly contradicts''the letter,which dem onstrates

     thatthis evidence tçfallswellshortofcompetentand reliablescientific''evidence.(See
     DE 16at17n.7).
            A11GOL was required to possesswhen making the çGno soy allergen''claim was

     com petentalzd reliable scientific evidence as defined in the Consent Decree.Plaintiff

     failed to establish by clearand convincing evidencethatGOL did notpossesscom petent

     and reliable scientitk evidence.GOL received a Statem entfrom Grow,and,in orderto



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    clarify whetherallergenswere presentin theproducts,GOL contacted ahigh-levelGrow

    executive, who reported that Grow does not use allergenic ingredients. M oreover,

    Plaintiffdid notestablish thatthetwo ingredientsprovided by Grow,VitaminsC and D,

    containedthetracesofsoy foundinthethreeproducts.(SeeDE 40at11).Even ifthese
    two ingredients were the sottrce of the soy contained in the products,GOL relied on

    Grow'srepresentation çithattheproprietary fermentation processthe Grow Companyuses

    to producethesevitaminswould consllme and destroy any residualsoy.''(SeeDE 40 at
     10; see also Ray Decl,at ! 14). This belief is substmntiated by Dr. Arvanaghi's
    representation to GOL that Grow does notutilize allergenic ingredients.Accordingly,

    Plaintifffailed to dem onstrate by clearand convincing evidence thatDefendantsdid not

    possesscompetentand reliableevidence substantiating GOL'sclaim .

           W hile itdoes notaffectthe analysis under Section One,itis worth noting that

    Gtthere have been no reported clinicalincidents ofany adverse health effects connected

    withtheénosoyallergen'claim''(seeDE 40 at10)andthisççclaim wasoneofdozensof
    ancillary attributesGOL listedfortheseproducts''(seeDE 40 at11).Furthennore,after
    receiving and reviewing the testresults,(SGOL voluntarily (1)recalled a11ofitsRAW
    Vitnmin C products,(2)changed the labels and packaging ofthe entire Vitamin Code
    productline to eliminate theGNo Soy Allergens'claim,and (3)destroyed the existing
    inventory of o1d Vitnmin Code labels and packaging,a1lat a cost of severalhtmdred

    thousanddollars.''(SeeDE 40at12).
                  2.O ceansK ids

           Second,Plaintiff asserts Defendants m ade unsubstantiated representations about

    the Oceans Kids DHA Chewable Softgels (Gçoceans Kids'') (see DE 16 at 19), a


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    children'somega-3 dietary supplementforchildren two yearsand older(see Bellinger
    ExpertReportat1).çGoceansKids... containsEPA,DHA,ALA,and Omega9,aswell
    asVitnmin E andnaturally occurringVitnminsA and D.''(SeeDE 40 at5).GOL made
    the following representationsaboutOceansKids:it(1)çfboostsbrain developmenf';(2)
    ttboostscognitive function'''(3)Gtsupportsorboostsmentalfocus'''(4)$çisimportantfor
    eye development''and (5)çEsupports positive mood and behavior''(see DE 16 at 19).
    GOL madetheserepresentationsfrom M arch 2009untilJune2010.(SeeDE 40at6;see
    alsoDE 16at21).
            Dr. David C.Bellinger CdBellinger''), the expert Plaintiff retained to opine
     tçwhether competentand reliable scientific evidence substantiates''the claim s m ade by

     GOL çdregardingthe effectsofOceansKids''(seeBellingerExpertReportat1),believes
     the claims made by GOL were not substantiated by competent and reliable scientific

     evidence(seeBellingerExpertReportat1).Defendants'expert,Dr.StevenM .W eisman,
     disagrees with Bellinger and believes ddthatthe Oceans Kids dietary supplem entoffers

     well documented benefits that are based upon competent and reliable evidence.''

     (W eisman Decl.at! 13).W eismanwroteamemorandum toGOL on January 12,2009,
     in which he fdevaulatledl the eftkacy of' the aforementioned claims for GOL's
     Glproposed children's DHA product.''(W eisman Decl.at! 15).In the memorand'lm,
     which GOL relied upon when itbegan m aking the representations aboutOceans Kids,

     W esiman wrote that ttstudies provide reasonable scientifc supportfor''GOL's claim s.

     (SeeDE 46-Exhibit1at2-3).
            After considering both reports,I find Plaintiff failed to establish by clear and

     convincing evidencethatDefendantsviolated Section Oneofthe injunction by making


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     the aforem entioned representations with respectto Oceans Kids.Indeed,the evidence

     establishes that GOL hired an outside expertto evaluate whether the aforem entioned

     representationswere supported by competentarld reliablescientificevidence.To find that

     GOL violated the term softhe Ordersolely because anotherwell-respected expertdefines

     Stbrain developm ent''differently or disagrees with certain aspects of a study's çttrial

     design''would requirethisCourtto read additionalrequirem entsinto theConsentDecree.

     (SeeBellingerExpertReportat7,9).
                   3. RAW Calcium and Grow BoneSystem

            Finally,PlaintiffassertsDefendantsGllvziolateldzSection Iofthe Stipulated Final
     Orderby (mlaking (glroundless(cllaimsthatRAW Calcium andtheGrow BoneSystem
     (olffer gsluperior(h)ea1th (blenefitsto Eojther(clalcium Eslupplements.''(SeeDE 16 at
     21). tTheGrow Bone System consistsoftwo dietary supplements'':(1)RAW Calcium
     and (2) StGrow'
                   th Factor S''. (See DE 40 at8).CGRAW Calcium,includes Algaecal,
     calcillm sourced from marine algae,with added m agnesium ,boron,V itamin D3,Vitam in

     K2,and Vitamin C''(see DE 40 at8),while dsdGrowth Factor S'provides strontium
     citrate''(seeDE 40at8).
            Specifcally,PlaintiffarguesGOL violated Section Oneforthefollowing reasons:

     (1)notasinglestudy existsthatcomparestheeffectsoftheGrow BoneSystem withany
     othercalcium supplement(seeDE 16at21);(2)GOL'sclaim thatitsmarinealgae-based
     calcium issuperiorto othercalcium supplementsisempirically false (seeDE 16 at21);
     and (3) GOL's claim that the Grow Bone System is superior to other calcillm
     supplementsdueto thepresenceof<<tlrowth FactorS'' istmsubstantiated (seeDE 16at
     23).Additionally,PlaintiffclaimsDefendantsviolated Section Two Gtby misrepresenting
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     the results and validity of clinicalstudies of Algeacalwhen m arketing RAW Calcium

     andtheGrow BoneSystem.''(SeeDE 16at23).
           lwillfirstconsiderGOL'salleged violationsofSection One.First,Plaintifffails

     to allege which portion of Section 0ne G0L allegedly violated when it made the

     aforem entioned representations.Aftercarefully considering Section One,I ûnd thatthis

     section does notprohibitGOL from claim ing its products are superior to competitor's

     products.The only provision that Plaintiff could argue applies is subsection J,which

     prohibits GOL from making unsubstantiated representations ûçlalboutthe absolute or
     comparativehealth benests...ofsuchproduct....''(SeeDE 8at5). First,Iintemret
     this provision to prohibit GOL from m aking either an absolute claim that its product

     treatscertain health benefitsora claim thatindividualswho take aproductwillnoticean

     im provementin theirhealth comparedto thosewho do not.

            Interpreting thisprovision to prohibitGOL from m aking comparisonsbetween its

     products and a competitor's products would be an unenforceable provision.A court

     cannotenforcean injunctionçtthatmerelyrequirels)someoneto tobey the1aw.'''Hughey
     v.JMS DevelopmentalCorp.,78 F.3d 1523,1531(11th Cir.1996)(quoting Payne b.
     TavenolLabs.,Inc.,565F.2d 895,897-98(5thCir.1978),cert.denied,439U.S.835,99
     S.Ct.118,58L.Ed.2d 131 (1974).Thus,dçlblroad,non-specificlanguagethatmerely
     enjoins a party to obey the law or comply with an agreement ...does notgive the
     restrained party fairnotice ofwhatconductwillrisk contempt.''Hughey,78 F.3d at 1531

     (internalcitationsomitted).Duetothepossibilitythataparty may beheld in contempt
     forviolating its terms,an injtmction Eçmustbe tailored to remedy the specific harms
      shown ratherthan to enjoin a1lpossible breaches ofthe law.''1d (internalcitations
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    omitted).Interpreting subsection JtoprohibitGOL from making representationsthatits
    products treat certain illnesses or diseases better than other products would transform

     subsection J into an ttobey the law''provision,which is unenforceable tmderEleventh

     Circuitlaw.The other subsections of Section One clearly articulate the representations

     that GOL is prohibited from making,for example,subsection G enjoins GOL from
     makingrepresentationstGltlhatsuch productreducestheriskofobesity.''(SeeDE 8at5).
     Subsection J doesnoteven referto competitor'sproducts,letalone specifically enjoin
     GOL from making comparisonsbetween itsproductandotherproducts.

            However,even ifIintem reted subsection Jto enjoin GOL from making claims
     thatitsproductsare superiorto theproductsofitscom petitors,GOL stilldid notviolate

     Section One.Each allegation hinges on GOL'srepresentationsthatpurportedly compare

     itsGrow Bone System to othercalcillm supplem ents.PlaintiffallegesGOL

            (Alggressively marketls)RAW Calcium and the Grow-Bone System as
            algae-derived calcium productsthatoffersuperiorhealth benefitsto other
            widely available calcium supplements,prom ising consum ers that their
            supplem ents,and no others,reverse the normalbone m ineraldensity loss
            that plagues adults from the age of 30 on. According to (GOL's1
            m mketing,RAW Calcillm offersGshuge advantages''overothersourcesof
            calcium and the Grow Bone System isûtlflarfrom justanothercalcium
            supplem ent'''like those that (tatbest,help slow down the rate of bone
            loss.''lndeed,(GOL) claimls) that only their supplements %tstimulatel)
            bonegrowth,''EçincreaseE)bonestrengths''andlçincreasel!bonedensity.''

     (SeeDE 16 at21).Plaintiffderived these allegationsfrom the following portionsofan
     articlepublished by GOL:

            Here is the truth.No calcium supplement,taken in the absence of other
            vitaminsand m ineralsand withoutproperdietand exercise,haseverbeen
            proven in clinicalstudies to help you strengthen bones.The bestthatcan
            be said isthatcalcium supplem entation helpsslow down orstop boneloss.
            &=




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           Farfrom djustanothercalcium supplement''intendedtoreducetheriskof
           osteoporosis,theGrow BoneSystem isintended to stimulatebone arow th.
           increasebone strendh and bonemineraldensity...

           Using plant-form calcium has huge advantages over rocksource (sicl
           calcium .Forstarters,while rock istechnically anaturalsubstance,it'snot
            in human nature to eatrocks.Plants are,ofcourse,a differentsubject.
            Stmdrenched and teeming with life,ourbodiesthrive on the nutrition that
            plants provide.The sam e will never be said of rocks.Second,and of
            particularimportance forbone health,when you take a whole food plant-
            form calcium supplement,you're getting far more than just calcium .
            W hile calci'lm is an im portant bone-building m ineral, there are other
            nutrients vitally importantto bone health.The consumption ofm inerals
            such asmagnesium,silica,boron,vanadium and strontium have (sicja1l
            been linked tohealthybones....

            (FTC M em.Ex.15at2)(emphasisadded).Eachoftheunderlined sectionsinthe
     excerptrepresentsthestatementsPlaintiffallegeswereunsubstantiated.Afterconsidering

     these statementsin context,Iflnd thateven ifsubsection Jenjoins GOL from making
     unsubstantiated representationsaboutitsproductssuperiority to otherproducts,GOL did

     notviolate subsection J.Plaintifftook severalstatem ents completely outofcontextand

     m anipulated them in an attempt to substantiate its allegation that GOL made

     unsubstantiated comparisonsofthe Grow BoneSystem to otherproducts.

            First,GOL only discussed thebenestsofGrow BoneSystem in generic termsand

     did not com pare its product to any other specific product.In the article,GOL merely

     stated the intended resultsofthe Grown Bone System and compared plant-fonn calcium

     to rock-source calcium .GOL possessed reliable and com petentevidence when itm ade

     these general statem ents.GOL relied on Dr.W eism an's Sscalcium for Bone H ealth''

     reportwhich he issued to GOL on M arch 10,2009.(W eisman Decl.at! 20).ln his
      report, Dr.W eisman çtreviewed ten hum an studies which dem onstrated the utility of

      calcium , particularly calcium carbonate, in supporting bone health. These studies
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    substantiated the use ofcalcium and calcium in com bination with vitnm in D and other

    nutrients and minerals (as found in RAW Calcillm and the Grow Bone System) in
    supporting bone density and overallhealthl.''(W eisman Decl.at! 20).Dr.W eisman
    points to severalstudies in hisdeclaration that supportthe generalstatem entsm ade by

    GOL.(W eisman Decl,at! 21-27).Again,theConsentDecreedoesnotrequireGOL to
    only make representations that are supported by tmcontroverted evidence;rather,the

    ConsentDecree merely requires GOL to possess competent and reliable evidence that

    substantiatesitsclaim s.

       Plaintiffclaim sGOL also violated Section Two ddby misrepresenting the results and

    validity of clinicalstudies of Algeacalwhen marketing RAW Calcium and the Grow

    BoneSystem.''(SeeDE 16at23).PlaintiffassertsGOL
           (Plromotels)(its)purported clinicalproofon (its)productpackaging,in
           (itsqprint,radio,and television advertisements,and on their web site.
           Defendants boast to consumers that, for exnm ple, their products are
           tdbacked by clinical studies,''dsclinically dem onstrated,''and çiclinically
           studied''to produce the advertised effects.(GOL) also offerlsl up a
           specific study and its results as proof of (its) claims, repeatedly
           m isrepresenting,in virtually a1ladvertisem entsforthe Grow Bone System
           and in advertisements for RAW Calcium as well,that participants in a
           clinicaltrialçsconsllm ed the ingredients in the Grow Bone System ''and
           ttlijn just six months''experienced average increases in bone mineral
           density from attsignificant''2.8% increaseto an dtamazing''3.7% increase.


       (SeeDE 16at23).ln response,GOL arguesthat(1)theclinicaltrialswereperfonned
    using tça formulation substantively identicalto the finalformulation of the Grow Bone

    System ,as wellas m ultiple studies from scientitk literature that substantiate widely-

    accepted bonehealth claims(including claimsaboutbonemineraldensity)forcalcilzm,
    strontium,magnesium,and Vitnmin D''(see DE 40 at9)and (2)GOL relied on Dr.
    W eism an'sreportwhich substantiated theaforem entioned representations.
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        Aspreviously stated,Section Two only enjoinsGOL from çtmisrepresenting,in any
    m anner,expressly or by implication,including tllrough the use of any trade name or

     endorsem ent,the existence,contents,validity,results,conclusions,or intep retations of

     any testorstudy.''(See DE 8 at5). Despite Plaintiffs allegations othenvise,the fact
     GOL neverconducted çsclinicalstudiesofRAW Calcillm ''and d'the Grow Bone System ''

     isnotaviolationofSectionTwo(seeDE 16at24)becauseSectionTwodoesnotrequire
     GOL to conductits own studies to authenticate its claim s. According to Plaintiff,GOL

     stated the participantsin the trialçsconsumed the ingredientsin the Grow Bone System .''

     (SeeDE 16at23).Thisstatementisliterallytrue(W eismanDecl.at! 32);therefore,itis
     notaviolation ofthe ConsentDecree.
        It appears Plaintiffs real qualm with GOL's statem ents appears to rest on GOL's

     relianceonan allegedlyççfatally flawed ....sttzdy.''(SeeDE 16at24).Section Twodoes
     notrequirethe lttestorstudy''GOL usesto be reliableorperformed in a certain m nnner.

     (SeeDE 8 at5).Nevertheless,GOL hired Dr.W eismantom iteanexpertreport,which
     he produced on June 2, 2010, in which he Kçreviewed the scientitk literatlzre and

     determined thatGOL had substantiation forits claimsthat(1)the Grow Bone System
     productisclinically demonstrated to stimulate bone growth,increase bone strength,and

     increase bone mineraldensity;(2) the Grow Bone System productcan increase bone
     mineraldensity by between 2.8 to 3.7 percentin six months;and (3)the Grow Bone
     System product contains plant-form calcium , which has huge advantages over rock-

     sotlrce calcium.''(W eisman Decl.at ! 32). Essentially,on its own initiative,GOL
     obtained competentand reliable evidence supporting its representations concem ing the

     resultsand validity ofthe Algeacalclinicalstudies.Afterconsidering the record,Itlnd
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    Plaintifffailed to establish by clearand convincing evidence thatGOL violated Section

    Two ofthe Order.

        V.      Conclusion
        After considering the record, I find Plaintiff failed to establish by clear and

     convincing evidence thatDefendantsviolated theFinalStipulated Order.Therefore,itis

     llnnecessarytoconsiderwhethertheConsentDecreewas(1)validand lawful;(2)clear,
     definiteand unambiguous;or(3)whetherDefendantshad the ability to complywiththe

     order.

        Accordingly,itishereby
              ORDERED AND ADJUDGED that:
                Defendantsarenotin contem ptoftheStipulatedFinalOrder;and

              2. Defendants'MotionforHeming(DE 41)isDENIED AS M OOT.
              DONE AND ORDERED in Cham bers at W est Palm Beach, Florida, this

       JF dayofFebruary,2012.


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                                                    LD .M IDDLEBROOKS
                                               UNITED STATES DISTRICT JUDGE

      cc:     CounselofRecord
